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 1 TRINETTE G. KENT (State Bar No. 222020)
 2 KENT LAW OFFICES
   3219 E. Camelback Rd. #588
 3 Phoenix, AZ 85018
 4 Telephone: (480) 247-9644
   Facsimile: (480) 717-4781
 5 E-mail: tkent@kentlawpc.com
 6
   Of Counsel to:
 7
   Credit Repair Lawyers of America
 8 22142 West Nine Mile Road
   Southfield, MI 48033
 9
   Telephone: (248) 353-2882
10 Facsimile: (248) 353-4840
11
   Attorneys for Plaintiff,
12 Renee Rucker
13
                      IN THE UNITED STATES DISTRICT COURT
14
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                               WESTERN DIVISION
16
   Renee Rucker,                         Case No.:
17
18                 Plaintiff,
19
          vs.                                     COMPLAINT
20
21 Equifax Information Services, LLC,
   a Georgia limited liability company; and       JURY TRIAL DEMAND
22 Receivables Management Systems, Inc.,
23 a Virginia corporation,
24                 Defendants.
25
26
27
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1         NOW COMES THE PLAINTIFF, RENEE RUCKER, BY AND THROUGH
2
     COUNSEL, TRINETTE G. KENT, and for her Complaint against the Defendants,
3
4 pleads as follows:
5                                     JURISDICTION
6
       1. Jurisdiction of this court arises under 15 U.S.C. §1681p.
7
8      2. This is an action brought by a consumer for violation of the Fair Credit
9
          Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).
10
11
12                                         VENUE
13     3. The transactions and occurrences which give rise to this action occurred in the
14
          City of Burbank, Los Angeles County, California.
15
16     4. Venue is proper in the Central District of California, Western Division.
17
18
19                                        PARTIES

20     5. Plaintiff is a natural person residing in Burbank, Los Angeles County,
21
          California.
22
23     6. The Defendants to this lawsuit are:
24           a. Equifax Information Services, LLC (“Equifax”), which is a Georgia
25
                limited liability company that conducts business in the state of California;
26
27              and
28
                                                2
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1           b. Receivables Management Systems, Inc. (“Receivables Management
2
               Systems”), which is a Virginia company that conducts business in the
3
4              state of California.
5                              GENERAL ALLEGATIONS
6
      7. Receivables Management Systems is inaccurately reporting its trade line
7
8        (“Errant Trade Line”) on Plaintiff’s Equifax credit file by failing to report the
9
         subject account as discharged in bankruptcy.
10
11    8. On April 22, 2016, Ms. Rucker received a Chapter 7 Bankruptcy Order of

12       Discharge from the bankruptcy court.
13
      9. On January 9, 2018, Ms. Rucker obtained her Equifax credit file and noticed the
14
15       Errant Trade Line reporting.
16    10. On or about January 25, 2018, Ms. Rucker submitted a letter to Equifax,
17
         disputing the Errant Trade Line.
18
19    11. In the letter, Ms. Rucker explained that the subject account had been discharged
20
         in bankruptcy, attached the Order of Discharge, and asked Equifax to report the
21
22       Errant Trade Line as discharged in bankruptcy.

23    12. On March 20, 2018, Ms. Rucker obtained her Equifax credit file, which showed
24
         that the Errant Trade Line still failed to report the discharge.
25
26    13. As a direct and proximate cause of the Defendants’ negligent and/or willful
27       failure to comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.,
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                                               3
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1        Plaintiff has suffered credit and emotional damages. Due to the Defendants’
2
         failure to correct the errors in her credit file, Plaintiff has been forced to refrain
3
4        from applying for new credit or more favorable terms on existing credit lines.
5        Plaintiff has also experienced undue stress and anxiety due to Defendants’
6
         failure to correct the errors in her credit file or improve her financial situation
7
8        by obtaining new or more favorable credit terms as a result of the Defendants’
9
         violations of the FCRA.
10
11
12                                        COUNT I
13
     NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
14              RECEIVABLES MANAGEMENT SYSTEMS
15
      14. Plaintiff realleges the above paragraphs as if recited verbatim.
16
17    15. After being informed by Equifax of Ms. Rucker’s consumer dispute of the
18       discharge language on the Errant Trade Line, Receivables Management
19
         Systems negligently failed to conduct a proper investigation of Ms. Rucker’s
20
21       dispute as required by 15 USC 1681s-2(b).
22
      16. Receivables Management Systems negligently failed to review all relevant
23
24       information available to it and provided by Equifax in conducting its

25       reinvestigation as required by 15 USC 1681s-2(b), and failed to direct Equifax
26
         to report the Errant Trade Line as discharged in bankruptcy.
27
28
                                               4
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 1      17. The Errant Trade Line is inaccurate and creating a misleading impression on
 2
           Ms. Rucker’s consumer credit file with Equifax to which it is reporting such
 3
 4         trade line.
 5      18. As a direct and proximate cause of Receivables Management Systems’
 6
           negligent failure to perform its duties under the FCRA, Ms. Rucker has suffered
 7
 8         damages, mental anguish, suffering, humiliation, and embarrassment.
 9
        19. Receivables Management Systems is liable to Ms. Rucker by reason of its
10
11         violations of the FCRA in an amount to be determined by the trier fact together

12         with reasonable attorneys’ fees pursuant to 15 USC 1681o.
13
        20. Ms. Rucker has a private right of action to assert claims against Receivables
14
15         Management Systems arising under 15 USC 1681s-2(b).
16
17
           WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment
18
19 against the Defendant Receivables Management Systems for damages, costs, interest,
20
     and attorneys’ fees.
21
22
23                                         COUNT II
24
        WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
25                RECEIVABLES MANAGEMENT SYSTEMS
26
        21. Plaintiff realleges the above paragraphs as if recited verbatim.
27
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 1     22. After being informed by Equifax that Ms. Rucker disputed the accuracy of the
 2
           information it was providing, Receivables Management Systems willfully failed
 3
 4         to conduct a proper reinvestigation of Ms. Rucker’s dispute, and willfully failed
 5         to direct Equifax to report the Errant Trade Line as discharged in bankruptcy.
 6
       23. Receivables Management Systems willfully failed to review all relevant
 7
 8         information available to it and provided by Equifax as required by 15 USC
 9
           1681s-2(b).
10
11     24. As a direct and proximate cause of Receivables Management Systems’ willful

12         failure to perform its duties under the FCRA, Ms. Rucker has suffered damages,
13
           mental anguish, suffering, humiliation, and embarrassment.
14
15     25. Receivables Management Systems is liable to Ms. Rucker for either statutory
16         damages or actual damages she has sustained by reason of its violations of the
17
           FCRA in an amount to be determined by the trier fact, together with an award
18
19         of punitive damages in the amount to be determined by the trier of fact, as well
20
           as for reasonable attorneys’ fees and she may recover therefore pursuant to 15
21
22         USC 1681n.

23
24
           WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment
25
26 against the Defendant Receivables Management Systems for the greater of statutory or
27 actual damages, plus punitive damages, along with costs, interest, and attorneys’ fees.
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1                                        COUNT III
2
       NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
3                          BY EQUIFAX
4
      26. Plaintiff realleges the above paragraphs as if recited verbatim.
5
6     27. Defendant Equifax prepared, compiled, issued, assembled, transferred,
7
         published, and otherwise reproduced consumer reports regarding Ms. Rucker as
8
         that term is defined in 15 USC 1681a.
9
10    28. Such reports contained information about Ms. Rucker that was false,
11
         misleading, and inaccurate.
12
13    29. Equifax negligently failed to maintain and/or follow reasonable procedures to

14       assure maximum possible accuracy of the information it reported to one or
15
         more third parties pertaining to Ms. Rucker, in violation of 15 USC 1681e(b).
16
17    30. After receiving Ms. Rucker’s consumer dispute to the Errant Trade Line,
18       Equifax negligently failed to conduct a reasonable reinvestigation as required
19
         by 15 U.S.C. 1681i.
20
21    31. As a direct and proximate cause of Equifax’s negligent failure to perform its
22
         duties under the FCRA, Ms. Rucker has suffered actual damages, mental
23
24       anguish and suffering, humiliation, and embarrassment.

25    32. Equifax is liable to Ms. Rucker by reason of its violation of the FCRA in an
26
         amount to be determined by the trier fact together with her reasonable
27
28       attorneys’ fees pursuant to 15 USC 1681o.
                                               7
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1          WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment
2
     against Equifax for actual damages, costs, interest, and attorneys’ fees.
3
4
5                                          COUNT IV
6
          WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
7
                             BY EQUIFAX
8
        33. Plaintiff realleges the above paragraphs as if recited verbatim.
9
10      34. Defendant Equifax prepared, compiled, issued, assembled, transferred,
11
           published, and otherwise reproduced consumer reports regarding Ms. Rucker as
12
13         that term is defined in 15 USC 1681a.

14      35. Such reports contained information about Ms. Rucker that was false,
15
           misleading, and inaccurate.
16
17      36. Equifax willfully failed to maintain and/or follow reasonable procedures to
18         assure maximum possible accuracy of the information that it reported to one or
19
           more third parties pertaining to Ms. Rucker, in violation of 15 USC 1681e(b).
20
21      37. After receiving Ms. Rucker’s consumer dispute to the Errant Trade Line,
22
           Equifax willfully failed to conduct a reasonable reinvestigation as required by
23
24         15 U.S.C. 1681i.

25      38. As a direct and proximate cause of Equifax’s willful failure to perform its duties
26
           under the FCRA, Ms. Rucker has suffered actual damages, mental anguish and
27
28         suffering, humiliation, and embarrassment.
                                                 8
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1       39. Equifax is liable to Ms. Rucker by reason of its violations of the FCRA in an
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           amount to be determined by the trier of fact together with her reasonable
3
4          attorneys’ fees pursuant to 15 USC 1681n.
5          WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment
6
     against Defendant Equifax for the greater of statutory or actual damages, plus punitive
7
8 damages along with costs, interest, and reasonable attorneys’ fees.
9
10
11                                     JURY DEMAND

12         Plaintiff hereby demands a trial by Jury.
13
14
15 DATED: March 28, 2018
16
17                                                  KENT LAW OFFICES

18                                             By: /s/ Trinette G. Kent
19                                             Trinette G. Kent
                                               Attorneys for Plaintiff,
20                                             Renee Rucker
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